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                Exhibit 1
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Election Timeline November


      November 3: Early Voting
      November 3: Deadline to file watchers list with Clerk of Court or file notice that list used in
       primary will be used for general election.
      November 4, 2023: Early Voting.
      November 4, 2023: Deadline for Clerk of Court to notify commissioners if no pre-election school.
      November 6, 2023: Early Voting.
      November 7, 2023: Early Voting.
      November 8, 2023: Early Voting.
      November 9, 2023: Early Voting.
      November 10, 2023: Veterans Day (State Observed Date).
      November 11, 2023: Last Day of Early Voting.
      November 11, 2023: Last Day of Nursing Home Voting.
      November 13, 2023: 10 a.m. Parish Board of Election Supervisors may select (absentee) Parish
       Board commissioners and alternates if increasing or decreasing from primary.
      November 14, 2023: Deadline for Clerk of Court to hold pre-election commissioner course.
      November 14, 2023: Deadline for ROV receive written challenges of absentee/early voting
       ballots.
      November 14, 2023: Deadline at 4:30 p.m. to request an absentee ballot.
      November 15, 2023: Deadline at 7 a.m. for ROV to seal and deliver precinct registers.
      November 15, 2023: Parish Board of Election Supervisors may begin preparation and verification
       of absentee and early voting ballots upon Secretary of State approval.
      November 15, 2023: Deadline for nominating petitions for the March 23, 2024 election to be
       submitted to the ROV.
      November 15, 2023: Deadline to issue special election proclamations for the March 23, 2024
       election.
      November 15, 2023: Deadline for Secretary of State to receive written notice of proposition
       elections.
      November 16, 2023: Deadline at 4:30 p.m. for Secretary of State to receive notice of withdrawal
       for races in which the withdrawal will cancel the race
      November 16, 2023: Deadline at 7 p.m. for parish custodian to prepare, inspect, and seal voting
       machines.
      November 17, 2023: Deadline for Clerk of Court to post notice of time and place of opening
       voting machines after election.
      November 17, 2023: Parish Board of Election Supervisors may begin preparation and verification
       of absentee and early voting ballots.
      November 17, 2023: Deadline at 4:30 p.m. ROV accept requests for absentee ballots from
       military/overseas and hospitalized voters.
      November 17, 2023: Deadline at 4:30 p.m. ROV accept return of regular absentee ballots.
      November 17, 2023: Deadline at 11:59 p.m. for voting machines at precincts.
      November 18, 2023: Gubernatorial General Election
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   November 18, 2023: Parish Board of Election Supervisors shall fix a time to begin counting
    absentee/early voting ballots no later than 8 p.m.; begins transmitting results to Clerk of
    Court/Secretary of State once polls close.
   November 18, 2023: Deadlines at 8 p.m. for ROV to accept return of absentee ballots from
    military/overseas and hospitalized voters.
   November 20, 2023: Deadline at 8 p.m. for voting machines to be returned to warehouse.
   November 21, 2023: Deadline for clerk of court/Secretary of State to break seals on voting
    machines.
   November 21, 2023: Parish Board of Election Supervisors begins compiling returns.
   November 21, 2023: Deadline at 4:30 p.m. to request a recount of absentee and early votes.
   November 23, 2023: State Holiday: Thanksgiving.
   November 24, 2023: State Holiday: Acadian Day
   November 25, 2023: Deadline for Clerk of Court to provide Secretary of State information who
    served in election.
   November 27, 2023: Recount of absentee by mail and early votes at a time selected by Secretary
    of State/ROV/Clerk of Court, if required.
   November 27, 2023: Deadline at 4:00 PM for Parish Board of Election Supervisors to complete
    returns and file copy with Clerk of Court.
   November 27, 2023: Deadline at 4:30 p.m. to contest any candidate election.
   November 28, 2023: Deadline at 12 p.m. for Clerk of Court to transmit returns to Secretary of
    State and mail copy.
   November 28, 2023: Secretary of State releases voting machines where no election contest suit is
    filed.
   November 29, 2023: Deadline at 12 pm for Secretary of State to compile and announce tentative
    election results.
   November 29, 2023: Deadline for parish governing authority to submit precinct changes for
    March 23, 2024 election.
   December 6, 2023: Deadline for Secretary of State to promulgate candidate election returns.
   December 6, 2023: Deadline for ROV to assign voters in ERIN to each voting district for the
    March 23, 2024 election.
   December 12, 2023: Deadline for each parish governing authority to submit polling place changes
    (for candidate elections) for the March 23, 2024 election.
   December 13, 2023: Qualifying for March 23, 2024 for Presidential Preference Primary.
   December 14, 2023: Qualifying for March 23, 2024 for Presidential Preference Primary.
   December 15, 2023: Qualifying for March 23, 2024 for Presidential Preference Primary.
